Case 8:21-cv-02429-SDM-TGW Document 183 Filed 05/05/22 Page 1 of 2 PageID 10232




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                               CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/


                                             ORDER

           To preserve the status quo, to permit a reasonable time to resolve the issues

     addressed at the April 28, 2022 hearing and in the parties’ papers, to review the

     plaintiffs’ response (due May 9, 2022) to the motion (Doc. 139) to dismiss or sever,

     and for other good cause, the interim injunctive relief (Doc. 174) for USAFA Cadet

     is EXTENDED through MAY 19, 2022.

           To aid review of the defendants’ motion, the plaintiffs’ response (in an exhibit

     that will not reduce the pages allowed for the response) must (1) identify each plain-

     tiff who at the filing of the complaint (Doc. 1) “reside[d]” (as that term is used in

     28 U.S.C. § 1391(e)(1)) within the Middle District of Florida and the status of each of

     the identified plaintiffs’ requests for religious (and any other) exemption from
Case 8:21-cv-02429-SDM-TGW Document 183 Filed 05/05/22 Page 2 of 2 PageID 10233




     vaccination and (2) state the facts supporting the assertion of residence and state the

     status of the pending requests.

           ORDERED in Tampa, Florida, on May 5, 2022.




                                               -2-
